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 2   State Bar No. 11479
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 4   Las Vegas, Nevada 89101
     (702) 388-6577 (Voice)
 5   (702) 388-6261 (Fax)
 6   Attorneys for Defendant,
     Hugo Patricio Coutelin
 7
                                  UNITED STATES DISTRICT COURT
 8
                                          DISTRICT OF NEVADA
 9
                                                  ***
10
11    UNITED STATES OF AMERICA,                         2:10-cr-00280-KJD-GWF

12                          Plaintiff,

13    vs.                                               EMERGENCY UNOPPOSED MOTION
                                                          TO MODIFY CONDITIONS OF
14    HUGO PATRICIO COUTELIN,                                PRETRIAL RELEASE

15                          Defendant.

16
                    Defendant, Hugo Patricio Coutelin, moves this Court for a modification of his
17
     conditions of pretrial release pursuant to 18 U.S.C. §3145. This motion seeks permission for Mr.
18
     Coutelin to travel to Bakersfield, California from March 1, 2012 to March 6, 2012, to attend a
19
     custody hearing. This move is supported by Pretrial Services and is not opposed by the government.
20
                    Mr. Coutelin was arrested for bank robbery in violation of 18 U.S.C. § 1344(1) and
21
     (2) - Conspiracy to Commit Mail Fraud, Wire Fraud, Bank Fraud and Aiding and Abetting. He was
22
     brought before this Court on July 26, 2010. He was released pursuant to the following conditions:
23
                    1.     Pretrial Services supervision,
24
                    2.     3rd party custody to Leroy Martinez,
25
                    3.     Maintain/seek employment,
26
                    4.     Travel restricted to Clark County, Nevada for court only, New Mexico, and
27
                           California for immigration issues,
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 1                   5.      Do not possess any firearms; ammunition; or dangerous weapons,
 2                   6.      Refrain from any use of illegal controlled substances,
 3                   7.      Do not associate with those who use or possess controlled substances,
 4                   8.      Defendant placed on home detention to be monitored by GPS. If GPS not
 5                           available, RF may be used,
 6                   9.      Maintain residence at 902 State Road 76, Espanola, NM.
 7                   Since his release, Mr. Coutelin has been in compliance with the conditions of his
 8   pretrial release. In fact, he is not being actively supervised in New Mexico at this time. He has been
 9   permitted to travel previously and there have been no problems with such travel.
10                   Mr. Coutelin now seeks permission to modify his conditions of pretrial release to
11   allow him to travel to Bakersfield, California to attend an emergency custody hearing. Mr.
12   Coutelin’s ten year-old daughter needs to be removed from an unsafe environment in California
13   where she is living and the court in California is requiring Mr. Coutelin’s presence for this
14   emergency hearing tomorrow March 2, 2012. Mr. Coutelin will be staying with his sister Rommy
15   Renteros at 6662 Alexandria Dr. Huntington Beach, CA 92647. Ms. Renteros phone number is
16   714-476-5657.
17                   The government also does not oppose this modification. Mr. Coutelin, thus, requests
18   that this Court allow him to travel to Bakersfield, California to attend his daughter's custody hearing.
19                   DATED this 1st day of March, 2012.
20
21                                                           RENE L. VALLADARES
                                                             Federal Public Defender
22
23                                                           /s/ Richard F. Boulware
                                                             ___________________________
24                                                           RICHARD F. BOULWARE
                                                             Assistant Federal Public Defender
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 1                                UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                  ***
 4
      UNITED STATES OF AMERICA,                         2:10-cr-00280-KJD-GWF
 5
                             Plaintiff,
 6                                                       ORDER TO MODIFY CONDITIONS OF
      vs.                                                      PRETRIAL RELEASE
 7
      HUGO PATRICIO COUTELIN,
 8
                             Defendant.
 9
10
                    Defendant, Hugo Patricio Coutelin, having moved this Court for modification of his
11
     conditions of pretrial release pursuant to 18 U.S.C. §3145 and Pretrial Services and the Government
12
     having consented to a modification of the conditions of pretrial release,
13
                    IT IS HEREBY ORDERED THAT, the Defendant Hugo Patricio Coutelin will be
14
     permitted to move to travel to Bakersfield, California from March 1,2012 to March 6, 2012 where
15
     he will reside with his sister, Rommy Renteros at 6662 Alexandria Dr. Huntington Beach, CA
16
     92647. Ms. Renteros phone number is 714-476-5657.
17                             1st day of March, 2012.
                    DATED this ____
18
19
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21
                                                   ___________________________________
22                                                 UNITED STATES MAGISTRATE JUDGE

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 1                               CERTIFICATE OF ELECTRONIC SERVICE
 2                    The undersigned hereby certifies that she is an employee of the Law Offices of the
 3   Federal Public Defender for the District of Nevada and is a person of such age and discretion as
 4   to be competent to serve papers.
 5                    That on March 1, 2012, she served an electronic copy of the above and foregoing
 6   UNOPPOSED MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE,by
 7   electronic service (ECF) to the person named below:
 8
 9                                      DANIEL BOGDEN
                                        United States Attorney
10
                                        Stephen Spiegelhalter and Fred G. Medick
11                                      United States Department of Justice
                                        Criminal Division, Fraud Section
12                                      1400 New York Avenue, NW
                                        Washington, DC 20530
13                                      202-307-1423
                                        Fax: 202-514-6118
14                                      Email: stephen.spiegelhalter@usdoj.gov
15                                      Via Electronic Mail to:
16                                      Pretrial Officer, Sandra Bustos (Las Vegas) and
17
18                                                        /s/ Claudia Lopez
                                                          ___________________________________________
19                                                        Claudia Lopez, an Employee of the Law Office of the
                                                          Federal Public Defender
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     O : \ T RIAL UNIT\RFB\Clients\COUTELIN, Hugo\Pleadings\2-29-12 Mot To Modfiy Pretrial Conditions.wpd
